

People v Artis (2022 NY Slip Op 05505)





People v Artis


2022 NY Slip Op 05505


Decided on October 04, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 04, 2022

Before: Gische, J.P., Friedman, Scarpulla, Rodriguez, Higgitt, JJ. 


Ind. No. 6930/02 Appeal No. 16318 Case No. 2018-212 

[*1]The People of the State of New York, Respondent,
vHarry Artis, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Svetlana M. Kornfeind of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Claire E. Lynch of counsel), for respondent.



Order, Supreme Court, New York County (Thomas Farber, J,), entered on or about June 7, 2017, which adjudicated defendant a level three sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in declining to grant a downward departure (see People v Gillotti, 23 NY3d 841, 861 [2014]). Defendant failed to demonstrate that his participation in sex offender treatment was so exceptional as to warrant a downward departure (People v Bonnemere, 201 AD3d 475 [1st Dept 2022]; People v Alcantara, 154 AD3d 532, 532 [1st Dept 2017], lv denied 30 NY3d 908 [2018]). Defendant did not establish that his age of 62 at the time of the hearing minimized his risk of reoffense (see People v Rodriguez, 145 AD3d 489, 490 [1st Dept 2016], lv denied 28 NY3d 916 [2017]). Defendant's low Static-99 score, which is primarily the result of his age, has limited probative value (see People v Roldan, 140 AD3d 411, 412 [1st Dept 2016], lv denied 28 NY3d 904 [2016]). In any event, the mitigating factors identified by defendant were either already taken into account by the risk assessment instrument or were outweighed by the seriousness of the offense and defendant's lengthy and violent criminal history.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 4, 2022








